              Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 1 of 10



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                            PITTSBURGH DIVISION
________________________________________

STEWART ABRAMSON, individually and on
behalf of a class of all persons and entities
similarly situated,

                 Plaintiff
                                                       Case No.
vs.

CWS APARTMENT HOMES, LLC                               CLASS ACTION COMPLAINT

                 Defendant.



                                 CLASS ACTION COMPLAINT

                                      Preliminary Statement

         1.      Plaintiff Stewart Abramson (“Plaintiff”), brings this action under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to

widespread public outrage about the proliferation of intrusive, nuisance telemarketing practices.

See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

         2.      “Month after month, unwanted robocalls and texts, both telemarketing and

informational, top the list of consumer complaints received by” the Federal Communications

Commission.1

         3.      The TCPA is designed to protect consumer privacy by prohibiting unsolicited,

autodialed calls, unless the caller has the “prior express written consent” of the called party.




1
    Omnibus TCPA Order, GC Docket 02-278, FCC 15-72, 2015 WL 4387780, ¶1 (July 10, 2015).
             Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 2 of 10



        4.      Plaintiff alleges that Defendant CWS Apartment Homes, LLC (“CWS Apartment

Homes”) made an automated telephone call using equipment prohibited by the TCPA to send a

text message that promoted its services without the Plaintiff’s prior express written consent.

        5.      Because the call to the Plaintiff was transmitted using technology capable of

generating thousands of similar calls per day, Plaintiff brings this action on behalf of a proposed

nationwide class of other persons who were sent the same illegal telemarketing call.

        6.      A class action is the best means of obtaining redress for the Defendant’s illegal

telemarketing, and is consistent both with the private right of action afforded by the TCPA and

the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.


                                              Parties

        7.      Plaintiff Stewart Abramson is a Pennsylvania resident, and a resident of this

District.

        8.      Defendant CWS Apartment Homes, LLC is a Delaware corporation with its

principal place of business in Texas.


                                        Jurisdiction & Venue

        9.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005 (“hereinafter referred to as CAFA”) codified as 28 U.S.C. 1332(d)(2). The matter in

controversy exceeds $5,000,000.00, in the aggregate, exclusive of interest and costs, as each

member of the proposed Class of at least tens of thousands is entitled to up to $1,500.00 in

statutory damages for each call that has violated the TCPA. Further, Plaintiff alleges a national

class, which will likely result in at least one Class member from a different state.
           Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 3 of 10



        10.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff’s claims arise under federal law.

        11.     Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claim occurred in this District, as the text message to the

Plaintiff, and a number of putative class members reside in this District. Furthermore, venue is

proper because a substantial part of property that is the subject of the action is situated in this

District; the Plaintiff’s cellular telephone.


                             TCPA and Text Messaging Background
        12.         In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing

. . . can be an intrusive invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub.

L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

        13.     Unlike many federal statutes, Congress embedded the reasons for the TCPA into

the statute itself with explicit Congressional Findings. 105 Stat. 2394, §§ 10, 12, 14 (notes

following 47 U.S.C. § 227).

        14.     Mims explicitly cited these Congressional Findings in noting that “‘automated or

prerecorded telephone calls’ . . . were rightly regarded by recipients as ‘an invasion of privacy.’”

Id. (citing 105 Stat. 2394). Accordingly, Congress found that:

        Banning such automated or prerecorded telephone calls to the home, except
        when the receiving party consents to receiving the call or when such calls are
        necessary in an emergency situation affecting the health and safety of the
        consumer, is the only effective means of protecting telephone consumers from
        this nuisance and privacy invasion.

Id. at § 14 (emphasis added).
           Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 4 of 10



       15.     Indeed, as the United States Supreme Court recently held in a different context,

“Modern cell phones are not just another technological convenience. With all they contain and

all they may reveal, they hold for many Americans ‘the privacies of life.’” Riley v. California,

__ U.S. __, 134 S.Ct. 2473, 2494-95, 189 L.Ed.2d 430 (2014).

       16.     In fact, the TCPA’s most stringent restrictions pertain to computer-generated

telemarketing calls placed to cell phones.

       17.     The TCPA categorically bans entities from initiating telephone calls using an

automated telephone dialing system (or “autodialer”) to any telephone number assigned to a

cellular telephone service. See 47 C.F.R. § 64.1200(a)(1)(iii); see also 47 U.S.C. § 227(b)(1).

       18.     A “SMS message” is a text message call directed to a wireless device through the

use of the telephone number assigned to the device. When an SMS message call is successfully

made, the recipient’s cell phone rings, alerting him or her that a call is being received.

       19.     Unlike more conventional advertisements, SMS calls, and particularly wireless or

mobile spam, can actually cost their recipients money, because cell phone users must frequently

pay their respective wireless service providers either for each text message call they receive or

incur a usage allocation deduction to their text plan, regardless of whether or not the message is

authorized.

       20.     Many commercial SMS messages are sent from “short codes” (also known as

“short numbers”), which are special cellular telephone exchanges, typically only five or six digit

extensions, that can be used to address SMS messages to mobile phones. Short codes are

generally easier to remember and are utilized by consumers to subscribe to such services such as

television program voting or more benevolent uses, such as making charitable donations.
           Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 5 of 10



       21.     A short code is sent to consumers along with the actual text message and

conclusively reveals the originator of the SMS message.



                                       Factual Allegations

       22.     A text message is a “call” as that term is interpreted under the TCPA.

       23.     As such, text messages are subject to the TCPA’s enforcement provisions.

       24.     CWS Apartment Homes uses telemarketing to promote its products.

       25.     CWS Apartment Homes’ telemarketing efforts include the use of automated

dialing equipment to send text messages.

       26.     On February 17, 2016, CWS Apartment Homes placed a telemarketing call to the

Plaintiff’s cellular telephone.

       27.     That telemarketing call was a broadcast form text message, which stated:

       “The Marq at Crabtree: Now offering up to 1 month free rent on brand new
       apartment homes! Offer expires Monday, Feb 29. Call (919) 238-3517 for details.
       Reply STOP to unsubscribe.”

       28.     Plaintiff has never done any business with CWS Apartment Homes and Plaintiff

never provided CWS Apartment Homes with his cellular telephone number.

       29.     The Caller ID for the text message stated, “34105”.

       30.     “34105” is an SMS Short Code, which is used for text message broadcasting to

send out advertisements en masse.

       31.     These facts, as well as the geographic distance between the Plaintiff and the

Defendant, as well as the fact that this call was part of a nationwide telemarketing campaign

demonstrate that the call was made using an automatic telephone dialing system (“ATDS” or

“autodialer”) as that term is defined in 47 U.S.C. § 227(a)(1).
             Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 6 of 10



          32.    CWS Apartment Homes did not have the Plaintiff’s prior express written consent

to make this call.

          33.    In fact, before filing this lawsuit, the Plaintiff wrote to CWS Apartment Homes

asking if they had his prior express written consent to make the call, but CWS Apartment Homes

did not provide any evidence of consent for Mr. Abramson.


                           Class Action Statement Pursuant to LCvR 23

          34.    As authorized by Rule 23 of the Federal Rules of Civil Procedure and LCvR 23 of

the Local Rules for the Western District of Pennsylvania, Plaintiff brings this action on behalf of

all other persons or entities similarly situated throughout the United States.

          35.    The class of persons Plaintiff proposes to represent include:

          All persons within the United States whom Defendant, directly or through any
          third parties, initiated a telephone call with the same or similar dialing system as
          was used to call plaintiff to a number registered as a cellular telephone line within
          four years before this Complaint was filed through the date of class certification.

          36.    Excluded from the classes are the CWS Apartment Homes, any entities in which

the CWS Apartment Homes has a controlling interest, the Defendant’s agents and employees,

any Judge to whom this action is assigned, and any member of the Judge’s staff and immediate

family.

          37.    The proposed class members are identifiable through phone records and phone

number databases.

          38.    The potential class members number in the thousands, at least. Individual joinder

of these persons is impracticable.

          39.    Plaintiff is a member of the class.
           Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 7 of 10



        40.     There are questions of law and fact common to Plaintiff and to the proposed class,

including but not limited to the following:

                a.    Whether the CWS Apartment Homes used an automatic telephone dialing

                      system to make the calls at issue;

                b.    Whether the CWS Apartment Homes placed telemarketing calls without

                      obtaining the recipients’ valid prior express written consent;

                c.    Whether the CWS Apartment Homes’ violations of the TCPA were

                      negligent, willful, or knowing; and

                d.    Whether the Plaintiff and the class members are entitled to statutory

                      damages as a result of the CWS Apartment Homes’ actions.

        41.     Plaintiff’s claims are based on the same facts and legal theories as the claims of

all class members, and therefore are typical of the claims of class members, as the Plaintiff and

class members all received telephone calls through the same or similar dialing system on a

cellular telephone line.

        42.     Plaintiff is an adequate representative of the class because his interests do not

conflict with the interests of the class, he will fairly and adequately protect the interests of the

class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions. In fact, the Plaintiff has foregone a simpler path to recovery by filing this matter as

a putative class action, as opposed to an individual claim.

        43.     The actions of the CWS Apartment Homes are generally applicable to the class as

a whole and to Plaintiff.

        44.     Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient
           Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 8 of 10



adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by CWS Apartment Homes

and/or its agents.

       45.      The likelihood that individual class members will prosecute separate actions is

remote due to the time and expense necessary to prosecute an individual case, and given the

small recoveries available through individual actions.

       46.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.


                                           Legal Claims

                                          Count One:
                           Violation of the TCPA, 47 U.S.C. § 227(b)

       47.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       48.      The Defendant violated the TCPA by initiating a telephone call using an

automated dialing system to Plaintiff’s cellular telephone number.

       49.      The Defendant’s violations were negligent, willful, or knowing.

                                           Count Two:
                                         Injunctive Relief

       50.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       51.      The TCPA authorizes injunctive relief to prevent further violations of the TCPA.

       52.      The Plaintiff respectfully petitions this Court to order the CWS Apartment

Homes, and its employees, agents and independent contractors, to immediately cease engaging in

unsolicited telemarketing in violation of the TCPA.
            Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 9 of 10




                                          Relief Sought

       For himself and all class members, Plaintiff requests the following relief:

       1.      That the CWS Apartment Homes be restrained from engaging in future

telemarketing in violation of the TCPA.

       2.      That the CWS Apartment Homes, its agents, and anyone acting on its behalf, be

immediately restrained from altering, deleting, or destroying any documents or records that could

be used to identify class members.

       3.      That the Court certify the proposed class under Rule 23 of the Federal Rules of

Civil Procedure.

       4.      That the Plaintiff and all class members be awarded statutory damages of $500 for

each negligent violation of the TCPA, and $1,500 for each knowing violation.

       5.      That the Plaintiff and all class members be granted other relief as is just and

equitable under the circumstances.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.
         Case 1:16-cv-01215-SS Document 1 Filed 04/12/16 Page 10 of 10



Plaintiff,
By Counsel,


Dated: April 5, 2016          By:     /s/ Clayton S. Morrow
                                    Clayton S. Morrow
                                    Email: csm@consumerlaw365.com
                                    Morrow & Artim, PC
                                    304 Ross Street, 7th Floor
                                    Pittsburgh, PA 15219
                                    Telephone: (412) 209-0656

                                    Edward A. Broderick
                                    Email: ted@broderick-law.com
                                    Anthony Paronich
                                    Email: anthony@broderick-law.com
                                    BRODERICK LAW, P.C.
                                    99 High St., Suite 304
                                    Boston, Massachusetts 02110
                                    Telephone: (617) 738-7080
                                    Subject to Pro Hac Vice

                                    Matthew P. McCue
                                    Email: mmccue@massattorneys.net
                                    THE LAW OFFICE OF MATTHEW P. MCCUE
                                    1 South Avenue, Suite 3
                                    Natick, Massachusetts 01760
                                    Telephone: (508) 655-1415
                                    Subject to Pro Hac Vice
